IN THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF NORTH CAROLI

Clerk U.S, Distr) t Court

UNITED STATES OF AMERICA me Ne

 

v. 1:200R.479-1

JASON SHUANG XU

The United States Attorney charges:

On or about November 27, 2018, in the County of Orange, in the Middle
District of North Carolina, JASON SHUANG XU knowingly and intentionally
did unlawfully use a communication facility, that is, a cellular telephone
assigned number 502-810-4188, to cause and facilitate the unlawful and
intentional distribution of cocaine hydrochloride, a Schedule II controlled
substance within the meaning of Title 21, United States Code, Section 812, a
felony under Title 21, United States Code, Sections 841(a)(1) and 846; in
violation of Title 21, United States Code, Section 843(b).

DATED: 7) aa hex 10 , 2020

MATTHEW G.T. MARTIN
United States Attorney

BY: SANDRA J. HAIRSTON
First Assistant
United States Attorney

Case 1:20-cr-00479-WO Document1 Filed 11/30/20 Page 1iof1
